 Case 7:19-cr-00045-MFU Document 66 Filed 10/20/20 Page 1 of 6 Pageid#: 282




                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                           ROANOKE DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
                     v.                           )   Criminal No. 7:19-cr-00045
                                                  )
ARTHUR LEE SMITH,                                 )   By: Michael F. Urbanski
    Defendant.                                    )   Chief United States District Judge


                             MEMORANDUM OPINION

       This matter comes before the court on defendant Arthur Lee Smith’s motion for

compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A), ECF No. 55. The Federal Public

Defender’s Office has supplemented Smith’s motion. ECF No. 59. The government opposes

it. ECF No. 63. Because the court finds that Smith has not demonstrated extraordinary and

compelling circumstances to justify his release, Smith’s motion is DENIED.

                                             I.

       On July 11, 2019, Smith pleaded guilty pursuant to a Rule 11(c)(1)(C) plea agreement

to possession of heroin with the intent to distribute and possession of ammunition by a

convicted felon. ECF No. 40. On October 22, 2019, Smith was sentenced to 30 months of

incarceration on each count to run concurrently. ECF No. 52. Smith has been in continuous

custody since March 20, 2019, ECF No. 49 at 1, and has served more than half of his sentence.

Smith is scheduled to be released on May 6, 2021, and is eligible for home detention on

February 5, 2021. ECF No. 59-2 at 4.

       Smith seeks compassionate release under 18 U.S.C. § 3582(c)(1)(A), arguing that his

various medical issues constitute “extraordinary and compelling” reasons warranting a
    Case 7:19-cr-00045-MFU Document 66 Filed 10/20/20 Page 2 of 6 Pageid#: 283




sentence reduction. Smith suffers from hypertension and his records from the Bureau of

Prisons (BOP) reflect this. See, e.g., ECF No. 59-3 at 20. Smith also asserts that he has asthma

and is pre-diabetic, though his BOP records do not reflect this. Smith asks the court to reduce

his sentence to time served. ECF No. 55 at 7. The government opposes any sentence reduction

for Smith. ECF No. 63. This matter is fully briefed and ripe for disposition. 1

                                                    II.

        The compassionate release statute, 18 U.S.C. § 3582(c)(1)(A), as amended by the First

Step Act (“FSA”), authorizes courts to modify terms of imprisonment as follows:

                The court may not modify a term of imprisonment once it has
                been imposed except that—in any case—the court, upon motion
                of the Director of the Bureau of Prisons, or upon motion of the
                defendant after the defendant has fully exhausted all
                administrative rights to appeal a failure of the Bureau of Prisons
                to bring a motion on the defendant’s behalf or the lapse of 30
                days from the receipt of such a request by the warden of the
                defendant’s facility, whichever is earlier, may reduce the term of
                imprisonment (and may impose a term of probation or
                supervised release with or without conditions that does not
                exceed the unserved portion of the original term of
                imprisonment), after considering the factors set forth in section
                3553(a) to the extent that they are applicable, if it finds that—

                (i) extraordinary and compelling reasons warrant such a reduction
                . . . and that such a reduction is consistent with applicable policy
                statements issued by the Sentencing Commission.

        Accordingly, Smith’s requested relief requires the court to consider (1) if he exhausted

his administrative remedies; (2) if so, whether there are extraordinary and compelling reasons

that warrant a reduction in his sentence; and (3) if so, what, if any, sentence reduction is



1 The court dispenses with oral argument because the facts and legal contentions are adequately presented in
the materials before this court and argument would not aid the decisional process.
                                                     2
 Case 7:19-cr-00045-MFU Document 66 Filed 10/20/20 Page 3 of 6 Pageid#: 284




appropriate after considering the applicable 18 U.S.C. § 3553(a) factors and whether Smith is

a danger to the safety of the community.

   i.      Smith has fully exhausted his administrative remedies.

        The provision allowing defendants, in addition to the Bureau of Prisons (BOP), to

bring motions under § 3582(c) was added by the FSA in order to “increas[e] the use and

transparency of compassionate release.” Pub. L. No. 115-391, 132 Stat. 5239 (2018). Before

bringing a motion before the district court, a petitioner must first exhaust his administrative

remedies. See 18 U.S.C. § 3582(c)(1)(A). A petitioner must satisfy one of two conditions,

whichever is earlier: (i) “the defendant has fully exhausted all administrative rights to appeal a

failure of the [BOP] to bring a motion on the defendant’s behalf” or (ii) “the lapse of 30 days

from the receipt of such a request by the warden of the defendant’s facility[.]” Id. The first

condition requires that the defendant fully exhaust all administrative rights. This means that it

is not enough for the warden to respond within 30 days by denying the request for

compassionate release. If the warden denies the request within 30 days, the petitioner must

then exhaust all administrative appeals available through the BOP. The second condition can

only be met after the lapse of 30 days from when the warden received the petitioner’s request

and has not responded.

        Here, Smith made a written request for compassionate release to the warden on April

2, 2020. ECF No. 59-1. On April 20, 2020, the warden denied Smith’s request and advised

him that he could “appeal through the Administrative Remedy Program” if he was dissatisfied

with the BOP’s response. Id. Smith filed his motion with this court on June 25, 2020. ECF

No. 55. It is not clear from the record that Smith exhausted any administrative appeals


                                                3
 Case 7:19-cr-00045-MFU Document 66 Filed 10/20/20 Page 4 of 6 Pageid#: 285




available through the BOP. However, the government does not contest that Smith exhausted

his administrative remedies. ECF No. 63 at 5–6. Accordingly, the court finds that Smith

exhausted his administrative remedies. To the extent that Smith may not have fully exhausted

any available administrative appeals, the government has waived the exhaustion requirement.

         This court has previously found that the exhaustion requirement does not operate as a

jurisdictional bar under § 3582(c)(1)(A). See United States v. Crawford, No. 2:03-cr-10084,

2020 WL 2537507, at *1 n.1 (W.D. Va. May 19, 2020). Because the exhaustion requirement is

not jurisdictional, it operates as a claims-processing rule and can be waived. See e.g., Crawford,

2020 WL 2537507, at *1 (finding that the exhaustion requirement has been waived where the

government failed to raise exhaustion as a ground for denying the motion); see also United

States v. Alam, 960 F.3d 831, 834 (6th Cir. 2020) (holding that the exhaustion requirement is

a mandatory claims-processing rule that has two exceptions: waiver and forfeiture) (citing

United States v. Cotton, 535 U.S. 625, 630 (2002)); United States v. Russo, 454 F. Supp. 3d

270, 275 (S.D.N.Y. 2020) (“one key consequence of [§ 3582(c)(1)(A)] not being jurisdictional

is that the Government can waive the affirmative defense of exhaustion.”). Accordingly, the

court finds that the government has waived the exhaustion requirement by not contesting

Smith’s satisfaction of it.

   ii.      Smith does not present extraordinary and compelling circumstances to warrant a
            sentence reduction.

         The court must next consider if it should “reduce the term of imprisonment.” See 18

U.S.C. § 3582(c)(1)(A). The U.S. Sentencing Guidelines Manual (“USSG”) § 1B1.13

application notes state that “extraordinary and compelling reasons” exist where (A) the

defendant is suffering from a terminal or serious medical condition; (B) the defendant is over
                                                4
    Case 7:19-cr-00045-MFU Document 66 Filed 10/20/20 Page 5 of 6 Pageid#: 286




65 years old, has failing health, and has served at least ten years or 75 percent of his sentence,

whichever is less; (C) the caregiver of the defendant’s minor child dies or becomes

incapacitated, or the defendant’s spouse or partner becomes incapacitated and the defendant

is the only available caregiver; or (D) as determined by the Director of the BOP, for “other

reasons” than, or in combination with, those described in Application Notes (A)-(C). Id. at

cmt. n. 1(A)-(D).

        The court finds that Smith’s underlying medical conditions, even in the context of the

COVID-19 pandemic, do not present “extraordinary and compelling reasons” to reduce his

sentence under Application Note A. Id. at cmt. n. 1(A). “In the context of the COVID-19

outbreak, courts have found extraordinary and compelling reasons for compassionate release

when an inmate shows both a particularized susceptibility to the disease and a particularized

risk of contracting the disease at his prison facility.” United States v. Harper, No. 7:18-cr-25,

2020 WL 2046381, at *3 (W.D. Va. Apr. 28, 2020) (citing, e.g., United States v. Feiling, 453 F.

Supp. 3d 832, 841 (E.D. Va. 2020)). “When assessing compassionate release motions during

the pandemic, the Court examines the Center for Disease Control and Prevention’s [CDC] list

of risk factors for severe COVID-19 complications.” Wilson v. United States, No. 2:11-cr-

180, 2020 WL 3315995, at *3 (E.D. Va. June 18, 2020). The CDC has issued guidance on

specific risk factors that place individuals at a higher risk of severe outcomes from COVID-

19. 2




2  Centers for Disease Control and Prevention, People with Certain Medical Conditions,
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-conditions.html
(updated Sept. 11, 2020).
                                                 5
    Case 7:19-cr-00045-MFU Document 66 Filed 10/20/20 Page 6 of 6 Pageid#: 287




        Here, Smith suffers from hypertension, which the CDC recognizes “might” put him at

an “increased risk for severe illness” should he contract the coronavirus. 3 But the additional

risk posed by Smith’s hypertension is neither certain nor inevitable and, therefore, not

extraordinary and compelling. 4 While the court is sympathetic to the risk that COVID-19

poses, “the mere existence of COVID-19 in society . . . cannot independently justify

compassionate release.” United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020). Because the

court finds that Smith has not demonstrated “extraordinary and compelling” reasons to

warrant a sentence reduction under § 3582(c)(1)(A), the court must deny his motion. 5

                                                  III.

        For the reasons stated herein, the court DENIES Smith’s motion for compassionate

release, ECF No. 55. The clerk is directed to send a copy of this memorandum opinion and

accompanying order to the petitioner, his counsel of record, and the United States. An

appropriate order will be entered.

        It is so ORDERED.

                                                Entered:       October 19, 2020
                                                                      Michael F. Urbanski
                                                                      Chief U.S. District Judge
                                                                      2020.10.19 13:24:03
                                                                      -04'00'

                                                Michael F. Urbanski
                                                Chief United States District Judge




3 Id.
4 The court’s ruling would not change if Smith’s BOP records supported his assertions that he also suffers
from asthma and is pre-diabetic. The CDC treats moderate to severe asthma the same as Smith’s
hypertension and it does not recognize any additional risk associated with being pre-diabetic. Id.
5 Because the court finds that Smith has not presented extraordinary and compelling reasons to warrant a

reduction in his sentence, it need not determine if the § 3553(a) factors weigh in favor of his release.
                                                    6
